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McINTOSH AND ASSOCIATES

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF CALIFORNIA
(FRESNO DIVISION)

ROGER McINTOSH d/b/a McINTOSH and Case No.
ASSOCIATES, :

. COMPLAINT FOR COPYRIGHT
Plaintiff, . INFRINGEMENT

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NORTHERN CALIFORNIA UNIVERSAL
ENTERPRISES COMPANY, a California
Corporation, LOTUS DEVELOPMENTS, LP,
and DOES 1 through 10, inclusive,

DEMAND FOR JURY TRIAL

Defendants.

For his complaint against Northern California Universal Enterprises Company (“Universal”)

and Lotus Developments LP (“Lotus”) (collectively, “Defendants”), Roger McIntosh d/b/a McIntosh

{and Associates (“McIntosh”) alleges:

NATURE OF THE ACTION

l. This is an action to redress the infringement of McIntosh’s registered copyrights.
Universal and Lotus have created a residential subdivision employing a tangible embodiment of the ©
landscape and subdivision design McIntosh conceived and created and that is the subject of

Copyright Registration Certificate No. VAU-721-180.

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PARTIES AND OTHER IMPORTANT PERSONS

2, Plaintiff Roger McIntosh is a civil engineer doing business as McIntosh and
Associates, a sole proprietorship with its principal place of business at 2001 Wheelan Court,
Bakersfield, CA 93309. .

3. Defendant Northern California Universal Enterprise Company, a California
Corporation with an address at 2099 Fortune Drive, San Jose, CA 95131, started as a land
development company in 1980 and is now a builder in California’s Central Valley. On information
and belief, Joseph Wu is the founder and head of Northern California Universal Enterprise
Company,

4, Defendant Lotus Developments is a California Limited Partnership with an address of |:
300 B Street, Turlock, CA, 95380. On information and belief, Joseph Wu is the founder and head of
Lotus Developments.

5. The trie names and capacities of defendants Does 1 through 10 inclusive are
unknown to Plaintiff, who therefore sues said defendants by such fictitious names. Plaintiff is
informed and believes, and thereon alleges, that each of the defendants herein designated as a Doe is
responsible in some manner for the events and happenings herein referred to and caused injuries and
damages proximately thereby as hereinafter alleged. Plaintiff is informed and believes, and thereon
alleges, that at all times herein mentioned, each of the defendants was the agent, servant and
employee of each of the remaining defendants, and at all times herein mentioned each was acting
within the purpose and scope of said agency and employment. Plaintiff is further informed and
believes, and thereon alleges, that at all times herein mentioned, each of the defendants’ employees
was the agent, servant and employee of each employee’s respective employer, that at all times herein
mentioned each employee was acting within the purpose and scope of said agency and employment,
and that each defendant has ratified and approved the acts of its agents and employees.

6. The Legacy Group, referred to throughout, is not a defendant in this action and no
longer exists. The Legacy Group was a land development company originally involved in the

development of the property that is the subject of this action.

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JURISDICTION AND VENUE
7. This Court has subject matter jurisdiction over the claims in this action pursuant to 28 |
U.S.C. § 1331, 28 U.S.C. §§ 1338(a)-(b), and 28 U.S.C. § 1367.
8. Venue in this judicial district is proper under 28 U.S.C. §§ 1391(b).
FACTUAL BACKGROUND

McIntosh and Associates

9, For more than 34 years, Roger McIntosh has been engaged in urban planning,

specifically the design of residential subdivisions and community spaces, throughout California. In

1980, Mr. MelIntosh and Eugene Martin founded Martin-McIntosh Land Surveying.

10, Over the last 27 years the firm has expanded to offer an array of land planning
services from civil engineering and landscape architecture to construction management throughout
Central and Southern California, Arizona, and Nevada. .

ll. On May 3, 1999, Roger McIntosh bought out his partner, Mr. Martin, and Martin- ~
McIntosh became McIntosh and Associates. Pursuant to the buy-out agreement the rights in all
works created up to that point by Martin-McIntosh were assigned to Roger Mclntosh.

12. McIntosh and Associates provides all types of civil engineering services, specializing
in site planning for private developments, residential developments and Public Works Projects,
including infrastructure, subdivision design, and oil field facilities.

13. McIntosh and Associates also offers land surveying services, from boundary surveys

to geodetic control surveys. _

Contract With The Legacy Group -

14. In or about 1992, McIntosh contracted with the Legacy Group to design and supervise
the construction of a subdivision called the Valley Rose Estates Project (“the Subdivision”) on a
parcel of land owned by the Legacy Group.

15. Specifically, McIntosh contracted to 1) develop the Subdivision’s master plans for
water, sewer, and drainage systems; 2) develop a phased traffic and circulation plan; 3) determine
boundaries: 4) develop a tentative tract map for the Subdivision; and 5) develop landscape design

unique to the Subdivision.

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16. According to the contract, all work product McIntosh created for the Subdivision

remained his property and McIntosh retained the right to use the plans without the Legacy Group’s

consent, including, but not limited to McIntosh’s designs and technical drawings.

17, In addition, the Legacy Group agreed that McIntosh’s designs and technical drawings
were being created exclusively for the Legacy Group and could only be used by the Legacy Group
on the Valley Rose Estates project.

18. The contract between MeIntosh and the Legacy Group also established that the
agreement between the parties could not be assigned without the written consent of the other party.

19. The Legacy Group had an agreement with the City of Wasco wherein the City would
pay for the Subdivision project with bond anticipation notes. The Legacy Group was to pay
McIntosh and the contractors from the money it received from the City of Wasco.

The Subdivision Plans

20. naccordance with his obligations under the Legacy Group contract, McIntosh
designed the overall layout of the Subdivision, as well as the division of the individual plots and
common spaces. MclIntosh also created landscape designs for the Subdivision. McIntosh’s
subdivision and landscape designs are depicted in technical drawings (“the Plans”) that are the
subject of Copyright Registration Certificate No. VAU-721-180, a true and correct copy of which is
attached as Exhibit A..

21. McIntosh is the sole author of the subdivision and landscape designs embodied in the
technical drawings:
22. McIntosh is the sole owner of the copyright in the technical drawings, See Exhibit A,
Copyright Registration Certificate No. VAU-721-180.

Initial Construction of the Subdivision -

23, In 1993, McIntosh submitted the Plans to the City of Wasco in order to obtain a .
building permit to commence construction on the Subdivision. The City of Wasco subsequently
approved the Plans.

24, Construction on the Subdivision commenced after the City of Wasco approved the

Plans, Several different contractors constructed the Subdivision according to McIntosh’s Plans. -
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McIntosh supervised construction of the Subdivision to ensure that the Plans were being properly
implemented.

25. In 1994 the bottom dropped out of the real estate market and the City of Wasco’s
bond anticipation notes lost their value. The City was no longer able to pay the Legacy Group for
the construction on the Subdivision. Consequently, construction on the Subdivision ceased. The
Legacy. Group subsequently declared bankruptcy and the City of Wasco purchased the Subdivision _

at a tax sale.

Defendants’ Infringement of McIntosh’s Plans

26. On information and belief, in or about December 2004, Defendants purchased the
Subdivision, with all the improvements, from the City of Wasco.
27. nor about late 2005 or early 2006, Mr. Wu of Northern California Universal

Enterprise Company and Lotus Developments contacted McIntosh and asked if he could use

MclIntosh’s Plans to finish the Subdivision. McIntosh told Mr. Wu that he could use the Plans if he

paid for them. Mr. Wu refused to pay for the plans.

28. Oninformation and belief, in or about October 2006, without paying Mcintosh for-his
plans, Defendants commenced construction on the Subdivision.

29. In or about November 2006, a Wasco city employee told McIntosh that Mr. Wu was
using McIntosh’s Plans to complete the Subdivision.

30. On information and belief, Defendants’ construction of the Subdivision is based on
landscape and subdivision designs substantially similar to the subdivision and landscape design
conceived and created by McIntosh that is represented in the Plans and that is the subject of
Copyright Registration Certificate No. VAU-721-180.

31. A point-by-point, feature-by-feature comparison between the Subdivision constructed
by Defendants and the Plans authored by McIntosh shows that the prominent features of the
Subdivision are.substantially similar to the Plans, such that the over-all look and feel of the design

represented in the Plans is embodied in the Subdivision,

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(32. ‘Specifically, a feature-by-feature comparison between the Subdivision and the Plans.
reveals substantial similarity in, among other things, the streets, curbs and outters, utilities, walls,
fences, entry monuments, street lights, and landscaping.

33. On information and belief, Defendants, without permission or license obtained and
copied the Plans, and is using them to complete the Subdivision. Defentlants have not paid

McIntosh for use of the plans.

FIRST CAUSE OF ACTION

Copyright Infringement of Technical Drawings.
34, McIntosh incorporates by reference and re-alleges paragy iphs 1 through 33 above.

35. Plaintiff has in all respects complied with the requirements of the copyright laws of
the United States with respect to the Plans. . .

36. The copying of the Plans by Defendants constitutes infringement of Mcintosh’s
registered copyright in the technical drawings depicted in the Plans, in violation of the Copyright
Act, résulting in harm and injury to McIntosh.

37. As a result of the above-described wrongful acts of Defendants in creating infringing
copies of the Plans, McIntosh’s copyright in the Plans has been infringed and he is entitled to .
recover actual damages and that portion of the profits realized by Defendants from the use of and
commercial exploitation of the infringing copies attributable to the unlawful use by Defendants of
the copyti ghted material contained in the Plans that is the subject of Copyright Registration
Certificate No. VAU-721-180.

DEMAND/PRAYER FOR RELIEF

WHEREFORE, McIntosh requests that this Court enter a judgment against the defendants
that provides for: . .

(a) A declaration that the defendants have willfully infringed McIntosh’s exclusive rights

in the copyrighted material contained in the Plans that is the subject of Copyright Registration

| Certificate No. VAU-721-180;

(b) A preliminary and thereafter permanent injunction against defendants, and all persons

acting in concert or participation with them or persons acting or purporting to act on their behalf,
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‘Including but not limited to their officers, directors, stockholders, partners, owners, agents,
representatives, employees, attorneys, successors and assigns and any and all persons acting in
concert or privity with them, directing defendants to:
(1) cease and desist from infringing plaintiff's copyright in the Plans; -
(2) destroy all copies of the Plans, including any and all drawings, models,
advertisements, catalogs and other materials based on or derived from the
Plans; and
(3) take all steps necessary to remove any structures or design elements that have
been copied from the Plans, or built based on the Plans
(c) The impounding of all copies of the Plans and any other materials derived from the
Plans, in whole or in part, incorporating any element of the Plans, and all means by which such
copies may be reproduced, and an order providing for the destruction or other reasonable disposition
of materials containing copies of the Plans or the designs embodied in the Plans that have been used
in violation of McIntosh’s exclusive rights, and all means by which such copies may be reproduced;
and in the event that certain such copies are rio longer under the control of defendants, provide the

name, address and relevant contact information of those believed to be in possession and control of

‘such materials: and

(da) The filing with this Court and the service on McIntosh within 30 days following
service of the injunction order, a report, under oath and in writing, setting forth in detail the manner
and form i in which defendants have complied with the injunction; and

(©) The awarding to plaintiff Meliitosh of damages in an amount equal to the actual '
damages suffered by McIntosh as a result of the infringement, and that portion of the profits earned
by Defendants from the creation and commercial exploitation of the copied plans and the Infringing
Building that is attributable to the infringement, and not taken into account in computing McIntosh’s
actual damages, including an award of the reasonable attorneys fees, costs and disbursements
incurred by McIntosh in connection with this action;

(f) Alternatively, the awarding to plaintiff McIntosh the maximum statutory damages

permitted under the Copyright Act with respect to each infringement, or for such other amount as
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may be proper pursuant to 17 U.S.C. § 504(c), including an award of the reasonable attommeys fees,
costs and disbursements incurred by McIntosh in connection with this action; and

(g) The granting to McIntosh such other and further relief as this Court may deem just

and proper.

JURY TRIAL DEMAND

McIntosh demiands a trial by jury on all issues triable of right by a jury.

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DATED: July 24, 2007

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